= = Ss = 5
OP sh Was Te eT Pe Ra wD RP, Pe

won
q yee IUGR ED ee He MORI TS oy OD UORE CE TTNT MOTT UT Te POTTS OP ITE ETT CRT Ee ET TED eD
i cunne COUNTY

| ISSUING TITLE OFFICE # sow STATE OF O H 10 TITLE No.

ji, RESIDENTCOUNTY = SUMMIT ISSUEDATE U&/U3/2U23

REPLACEMENT

}) IDENTIFICATION NUMBER YEAR MAKE MAKE DESCRIPTION
f 1GCVKREC8FZ229523 2015 CHEV CHEVROLET

. g nk
we i? Ae
i

s CONVERSION MILEAGE BODY TYPE MODEL DESCRIPTION

: 2 75,705 PT SILVERADO e
EF it
= i EVIDENCE MILEAGE NOTATION if My ;
bad ACTUAL Py
a ee
Pay COMMENTS PURCHASE PRICE TAX hy omg
f Le in $31,300 00 $2,112 75 oF
a. y ' NOTATION(S) bg Wr
E i iN od:
ey; A. Pak
A ee!” OWNER(S) | 4)
vo i REBECCA L HORVATH | Ty
W =
EbgAB). 3479 E TUSCARAWAS EXT ied
ATA BARBERTON, OH 44203 —<
ar Sore

Min
RYe i PREVIOUS OWNER(S) “oe
hak ) WAIKEM MOTORS INC ‘yj ph:
Pl oh): ws
AEG): 3910 LINCOLN WAY E et:
T4 MASSILLON, OH 44646 io
. aa (: FIRST LIENHOLDER DATE OF LIEN 07/05/2022 i =) F
EMMY: SANTANDER CONSUMER USA aA:
7 et A: ede
Mt: PO BOX 961288 Vs
NY ays) FORT WORTH, TX 76161 te} ,
AN ae
aay el
ad fh, LIEN DISCHARGE st
4 can iM») Lienholder ti ay s
K it. i om i
BR 7) y by ey
E| A I. Authorized Signature Date K a | i
id 17 MA. CLERK LIEN CANCELLATION _ i]
c by \ i \ f

SY {. Deputy Clerk Date M4

WITNESS MY HAND AND OFFICIAL SEAL THIS 3RD DAY OF AUGUST, 2023

EXHIBIT

oor Oe

So ae et

SANDRA KURT
CLERK OF COURTS

